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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    ANDRE LAMONT SWAFFORD,                   Case No. 2:18-cv-08391-JFW-KES
  12                Petitioner,
  13          v.                                            JUDGMENT

  14    DEBBIE ASUNCION, Warden,
  15                Respondent.
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  18         Pursuant to the Court’s Order Accepting Report and Recommendation of
  19   U.S. Magistrate Judge,
  20         IT IS ADJUDGED that the Petition is dismissed with prejudice.
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  22   DATED: September 24, 2021           ____________________________________
  23                                       John F. Walter
                                           UNITED STATES DISTRICT JUDGE
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